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                                   STATEMENT OF FACTS

       Your affiant, John J. Coleman, is a Special Agent with the Federal Bureau of Investigation
(FBI). As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws. Currently, I am tasked with investigating criminal activity in and around the United States
Capitol Building and grounds on January 6, 2021.

        The United States Capitol is secured twenty-four hours a day by United States Capitol
Police (USCP). Restrictions around the Capitol include permanent and temporary security barriers
and posts manned by USCP. Only authorized people with appropriate identification are allowed
access inside the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to
members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As noted
above, temporary barricades and permanent barricades were in place around the exterior of the
Capitol. USCP were present and attempting to keep the crowd away from the Capitol building as
the proceedings were underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to
maintain order and to keep the crowd from entering the Capitol. However, around 2:00 p.m.,
individuals in the crowd forced entry into the Capitol. Some members of the crowd gained access
and entry to the Capitol by breaking windows and assaulting members of the USCP. Others in the
crowd encouraged and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m., members of the House of Representatives
and Senate, including the President of the Senate, Vice President Pence, were instructed to—and
did—evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the Capitol
from the time he was evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage that appeared
to be captured on mobile devices of people present on the scene depicted evidence of violations of
local and federal law, including many people inside the U.S. Capitol building without authority to
be there.
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             INVESTIGATION OF ANTHONY CAROLLO, JEREMIAH CAROLLO,
             AND CODY VOLLAN AND THEIR INVOLVEMENT IN THE EVENTS
                               OF JANUARY 6, 2021

        Based on geolocation data obtained with a search warrant served on Google, law
enforcement became aware that mobile devices associated with Google accounts
trcarollo@gmail.com, jeremiahcarollo@gmail.com, and codyvollan@gmail.com likely were
located in and/or around the restricted area of the U.S. Captiol, to include the inside of the Capitol
Building, on January 6, 2021. 1

        The FBI has reviewed the available information for the above-referenced email addresses
to determine whether people owning those email addresses could have been inside the U.S. Capitol
Building lawfully January 6, 2021. The information for those email addresses did not match any
information for people lawfully within the Capitol on that date. Accordingly, I believe that the
individuals possessing mobile devices associated with those email addresses were not authorized
to be within the U.S. Capitol Building on January 6, 2021.

                            Subject 1: Anthony Carollo (trcarollo@gmail.com)

        Records provided by Google revealed that the Google account trcarollo@gmail.com was
registered in the name of Anthony Carollo, with a recovery telephone number ending in -1136. 2

       According to records obtained from AT&T, the telephone number ending in -1136 is
subscribed to a person with the address 16649 W Oneida Dr, Lockport IL 6044. 3

      According to subscriber records obtained from Snapchat, as of February 1, 2019, telephone
number ending in -1136 was associated with the username “trcarollo,” with a display name of
“Tony.”

       According to records obtained from the Illinois Department of Motor Vehicles, Anthony
Carollo’s address is 16649 W Oneida Dr, Lockport IL 60441 (the same address as listed in the
AT&T records).




1
  The full email addresses are known to law enforcement; however, those addresses are partially redacted herein due
to the public nature of the filing.
2
 The full phone number is known to law enforcement, but only the last four digits are being included here due to the
public nature of the filing.
3
    The full address is known to law enforcement, but is partially redacted here due to the public nature of the filing.




                                                               2
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                       Subject 2: Jeremiah Carollo (jeremiahcarollo@gmail.com)

       Records    provided     by      Google revealed   that   the    Google     account
jeremiahcarollo@gmail.com was registered in the name of Jeremiah Carollo, with a recovery
telephone number of ending in -7901. 4

       According to records obtained from Sprint, the telephone number ending in -7901 is
subscribed to a person with the address 504 Huntington, Glen Carbon, IL 62034. 5

        According to subscriber records obtained from Facebook, as of September 29, 2015,
telephone number ending in -7901 is associated with the username “Jerry Carollo,” with an account
identifier of “jerry.carollo.96.”

        According to records obtained from the Illinois Department of Motor Vehicles, Jeremiah
Carollo’s address is 504 Huntington, Glen Carbon, IL 62034 (the same address as listed in the
Sprint records).

                              Subject 3: Cody Vollan (codyvollan@gmail.com)

       Records provided by Google revealed that the Google account codyvollan@gmail.com
was registered in the name of “C V,” with a recovery telephone number of ending in -5776. 6

        According to AT&T records, the subscriber for the telephone number ending in -5776, as
of December 18, 2013, is Cody Vollan, with an address of 16649 W Oneida Dr, Lockport IL
60441. 7

       According to records obtained from the Illinois Department of Motor Vehicles, Cody
Vollan’s address is 16649 W Oneida Dr, Lockport IL 60441 (the same address as listed in the
AT&T records). This is the same address in Lockport, IL, as associated with the records for
Anthony Carollo that are described above.

                                                     Video Footage

        During the course of the investigation, law enforcement officers recovered video footage
recorded within and around the U.S. Capitol Building on January 6, 2021. In this footage, law
enforcement officers located images of people who appear fully consistent with the appearances
of Anthony Carollo, Jeremiah Carollo, and Cody Vollan, based on comparisons with each man’s
driver license photograph obtained from the Illinois Department of Motor Vehicles.

4
 The full phone number is known to law enforcement, but only the last four digits are being included here due to the
public nature of the filing.
5
    The full address is known to law enforcement, but is partially redacted here due to the public nature of the filing.
6
 The full phone number is known to law enforcement, but only the last four digits are being included here due to the
public nature of the filing.
7
    The full address is known to law enforcement, but is partially redacted here due to the public nature of the filing.




                                                              3
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       The following photos, taken from video footage recorded within and around the U.S.
Capitol Building on January 6, 2021, show people whose appearances are consistent with the
appearances of the people shown in the driver license photographs of Anthony Carollo, Jeremiah
Carollo, and Cody Vollan, as indicated in the photos below: 8

Photo 1




                                                       Cody Vollan




                                                         Anthony Carollo




8
 In Photos 3 and 4, Jeremiah Carollo’s face is turned away from the camera, but he is wearing the same clothing
and head covering as shown in the other Photos in which he is facing the camera.




                                                           4
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Photo 2




                       Cody Vollan




                                                                              Jeremiah Carollo
                     Anthony Carollo




Photo 3




                                                                    Anthony Carollo




                                       Cody Vollan




                                                         Jeremiah Carollo




                                                     5
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Photo 4




                                                                                        Anthony Carollo
                        Jeremiah Carollo
                                                                          Cody Vollan




Photo 5


                                           Anthony Carollo




                                                 Cody Vollan




                                                       Jeremiah Carollo




                                                                   6
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Photo 6




                                 Anthony Carollo
                                                        Cody Vollan




                                                              Jeremiah Carollo




                                                   Interviews

        On 10/27/2021, I and FBI SA Alex Dehr interviewed Witness-1, who is a family member
of Anthony and Jeremiah Carollo (who are brothers) and was present at the residence at 16649 W
Oneida Dr. Lockport, IL 60441 (the same address described above). Witness-1 is also related to
Cody Vollan (Cody Vollan is the cousin of Anthony Carollo and Jeremiah Carollo). Witness-1
identified Anthony Carollo and Cody Vollan, in Photo 1 above. Witness-1 further stated that
Jeremiah Carollo, was with Cody Vollan and Anthony Carollo at the Capitol on January 6, 2021.

       On 10/27/2021, I and FBI SA Alex Dehr interviewed Anthony Carollo at his residence at
16649 W Oneida Dr. Lockport, IL 60441. He admitted that he was inside the U.S. Capitol
Building on January 6, 2021. In addition, he verified his cell phone number as the phone number
ending in -1136 (the same phone number described above). He stated that he traveled to
Washington, D.C., with Cody Vollan and Jeremiah Carollo, who both entered the Capitol Building
with him. He identified himself and Cody Vollan in Photo 1 above.

       On 10/28/2021, I and FBI SA Alex Dehr interviewed Cody Vollan. He admitted that he
was inside the U.S. Capitol Building on January 6, 2021. In addition, he verified that his cell
phone number was the number ending in -5776 described herein. He stated that he traveled to
Washington, D.C., with Anthony and Jeremiah Carollo, who entered the Capitol with him. He
was shown Photos 1, 2, 4, and 5 above, and identified himself as well as Anthony and Jeremiah
Carollo.

       On 11/1/2021, FBI SA Nick Ponsano and FBI SA Omba Ngoma interviewed Jeremiah
Carollo at his residence. He admitted that he was inside the U.S. Capitol Building on January 6,




                                                         7
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2021. He stated that he traveled to Washington, D.C., with Anthony Carollo and Cody Vollan,
who both entered the Capitol Building with him. In addition, he verified his cell phone number as
the number ending in -7901 described herein. Jeremiah was shown Photos 1 and 6 above, and
identified himself as well as Anthony Carollo and Cody Vollan.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Anthony Carollo, Jeremiah Carollo, and Cody Vollan violated 18 U.S.C. §§ 1752(a)(1) and (2),
which make it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Anthony Carollo, Jeremiah
Carollo, and Cody Vollan violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.



                                                       _________________________________
                                                       John J. Coleman
                                                       Special Agent
                                                       Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of January, 2022.
                                                       G. Michael Michael Harvey
                                                                           Digitally signed by G.


                                                       Harvey            Date: 2022.01.14 12:58:42
                                                       ___________________________________
                                                                         -05'00'
                                                       G. MICHAEL HARVEY
                                                       U.S. MAGISTRATE JUDGE




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